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                                                                                ^    IM OPEN COURT

                                                                                          - i 2017
                          UNITED STATES DISTRICT COURT FORTHE C^RiCmSiSfRiSrCOURT
                                EASTERN DISTRICT OF VIRGINIA                        ^^nRFOLK.VA

                                           Norfolk Division

  UNITED STATES OF AMERICA                         )
                                                  )
                 V-                               )    CRIMINAL NO. 2:16cr55

 SHAKIRMCNEAL                                     )
                                    STATEMENT OF FArTS

         Ifthis matter had gone to trial, the United States would have proven the charge contained
 in the indictment beyond areasonable doubt, by proofofthe following facts, among others;
         From August 2012 through June 2,2017, in the Eastern District ofVirginia and
 elsewhere, defendant SHAKIR MCNEAL and co-defendants Anthony V. Newton, Shaquana K.
 Taylor, Dewrel L. Burleson and others knowingly and unlawfully combined, conspired,
 confederated and agreed together with each other to commit the following offense, that is, to
 devise and intend to devise any scheme and artifice to defraud and for obtaining money and
property by means ofmaterially false and fraudulent pretenses, representations, and promises
and for the purpose ofexecuting such scheme and artifice, knowingly caused to be transmitted
by wire communication in interstate commerce, certain vratings, signs, and signals, that is, one
or more wire transfers in furtherance offraudulent Internet sales transactions, in violation of
Title 18, United States Code, Section 1349.

       The object ofthe conspirators' unlawful agreement was to make money by participating
in ascheme to obtain monies from unsuspecting persons seeking to buy vehicles on Internet
websites, such as craigslist. In so doing, one or more conspirators placed postings on craigslist
offering to sell vehicles. One or more conspirators communicated with interested buyers by
telephone, text messaging, and email. One or more conspirators recruited other conspirators to
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  receive deposits and wire transfers from persons seeking to buy vehicles advertised on craigslist.
  One or more conspirators opened new bank accounts or allowed their existing accounts to be
  used to receive such deposits and transfers. These monies were then shared among the
 conspirators.

         It was apart ofthe conspiracy to open free, web-based email accounts in various names
 and to use these email accounts when posting listings ofcars for sale on craigslist. The
 conspirators would post "for sale" listings on various craigslist websites including, for example,
 craigslist websites for Minneapolis, Albuquerque, Chattanooga, Los Angeles, Omaha, Peoria,
 and Atlanta. They would use these websites to advertise, among other things, the sale ofclassic
 and other vehicles in need ofrestoration - so called "project cars" - which the conspirators
 never intended to deliver to the buyers. They would also use multiple telephones, telephone
numbers, and email accounts to communicate with interested buyers, and would later abandon
such telephone numbers and email accounts after successfully obtaining buyers' monies.
        The conspirators engaged others to open new bank accounts or use existing accounts to
receive wire transfers and deposits from prospective buyers. After agreeing to sell aparticular
vehicle, for example, aconspirator would direct the buyer to wire adown payment or the entire
sum due and would provide them with bank account and routing numbers for this purpose. After
receiving deposits and wire transfers into such accounts, the conspirators would quickly
withdraw the monies received for distribution among the conspirators, before buyers discovered
the fraud and attempted to recall the funds. Shortly after fraudulently inducing prospective
buyers to pay for vehicles, the conspirators broke offcontact with such buyers, never delivered
the items sold, never returned the monies transferred, and caused the buyers to suffer losses.
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         SHAKIR MCNEAL and Anthony Newton were first cousins. Newton was responsible
 for obtaining aportion ofthe fiinds from Taylor, Burleson and other co-conspirators. None of
 the other co-conspirators were aware ofSHAKIR MCNEAL's identity. Newton was responsible
 for submitting aportion ofthe illegal funds to SHAKIR MCNEAL through bank acconts
 controlled by his daughter.

        In furtherance ofthe conspiracy and to accomplish the objects ofthe conspiracy,
 SHAKIR MCNEAL, Anthony V. Newton, Shaquana K. Taylor, Dewrel L.Burleson and others
 committed the following acts in the Eastem District ofVirginia and elsewhere:

                     Victim K.G/S Attempt to Buy a 1967 Chevy Corvette
        On June 25, 2013 in Norfolk, Virginia, Shaquana Taylor opened checking and savings
accounts at the Bank ofAmerica. In July 2013, Taylor gave aconspirator her Bank ofAmerica
account and routing numbers, so Newton could give them to another conspirator in California.
On or about October 25,2013, aconspirator posted alisting on the Los Angeles craigslist
website offering to sell a1967 Chevy Corvette. Four days later, aconspirator, falsely using the
name of"Shaquank Taylor," convinced K.G. to wire approximately $43,950.00 in interstate
commerce to Taylor's account at Bank ofAmerica in the Eastem District ofVirginia. Newton
and Burleson instructed Taylor to withdraw ttie money from the Bank ofAmerica account and to
give asignificant portion ofthose funds to them. From October 29 through November 4,2013,
in Norfolk, Chesapeake, and Virginia Beach, Virginia, Taylor made six separate withdrawals at
the Bank ofAmerica ofapproximately $6,000.00, $8,000.00, $8,000.00, $8,000.00, $5,900.00,
and $8,000.00, which funds were shared with Anthony Newton, Dewrel Burleson, and SHAKIR
MCNEAL.




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                     Victim M.H.'s Attempt to Buy a 1956 Porsche Cabriolet
         On July 8, 2014 in Norfolk, Virginia, Shaquana Taylor opened an account at
 Wells Fargo Bank. In July 2014, Taylor gave aconspirator her Wells Fargo bank account and
 routing numbers so Anthony Newton could give them to another conspirator in California. On
 July 29,2014, aconspirator posted alisting on the Omaha craigslist website offering to sell a
 1956 Porsche Cabnolet. On that same day, aconspirator, falsely using the name "Shaq Taylor,"
 convinced M.H. to wire approximately $20,000.00 in interstate commerce to Taylor's account at
 Wells Fargo Bank in the Eastern District ofVirginia, and falsely promised to provide M.H. with
the title for the 1956 Porsche after receiving the money. Later on that same day (July 29,2014),
Newton and Dewrel Burleson instructed Taylor to withdraw the money. On August 7,2014, in
Norfolk, Virginia, Taylor signed for aFedEx delivery from Wells Fargo Bank containing a
cashier's check for approximately $19,786.00. That same day, Taylor deposited the Wells Fargo
check for approximately $19,786.00 into her account at Navy Federal Credit Union. SHAKIR
MCNEAL obtained a portion ofthese stolen funds.
       SHAKIR MCNEAL, Anthony Newton, Shaquana Taylor and other co-conspirators were
responsible for defrauding at least 14 victims in this wire fraud scheme and the total amount of
losses reasonable foreseeable to SHAKIR MCNEAL and the other co-conspirators are $146,900.
                                     Respectfully submitted.

                                     Dana J. Boente
                                     United StatM Attorney
                             By:
                                    "^phen W. Haynie
                                     Assistant United States Attorney
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        After consulling with my attorney, Ihereby stipulate that the above statementoffacts is
 m.e and accurate, and that had the matterproceeded to trial, the United States would have proved
 the same beyond a reasonable doubt.

                                                    pit           ^
                                              SHAKIRMCNEAL
                                              Defendant


       Iam SHAKIR MCNEAL's attorney. Ihave carefully reviewed the above statement of
facts with the defendant. To my knowledge, the defendant's decision to stipulate to these facts is
an informed and voluntary one.                  ^         /\

                                             Eric Lecfce
                                            Counsel for Defendant
